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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF KENTUCKY
                           FRANKFORT DIVISION
______________________________________________________________________________

MID-AMERICA MILLING COMPANY, LLC &
BAGSHAW TRUCKING INC.,

                 Plaintiffs,
   v.

U.S. DEPARTMENT OF TRANSPORTATION,
PETER P. BUTTIGIEG, SHAILEN BHATT, &
TODD JETER,

               Defendants.
______________________________________________________________________________

                          VERIFIED COMPLAINT
______________________________________________________________________________

        Plaintiffs allege their complaint against Defendants as follows:

                                  INTRODUCTION

        1.    The largest, and perhaps oldest affirmative action program in U.S.

history is called the “disadvantaged business enterprise” (DBE) program. Under this

program, the federal government finances the American transportation system,

including highway construction, with a series of race and gender preferences they call

“goals.” But in effect, these “goals” amount to discriminatory barriers, preventing

many construction companies from competing for contracts on an equal footing with

firms owned by women and certain racial minorities. Because the DBE program

violates the Constitution’s “promise of equal treatment,” it must be permanently

dismantled. Students for Fair Admissions, Inc. (SFFA) v. President & Fellows of

Harvard Coll., 600 U.S. 181, 228 (2023) (citation omitted).
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      2.      Despite running the DBE program for over four decades, Defendants

have said in similar lawsuits—and will undoubtedly say again in this lawsuit—that

“the needle has not moved.” Bruckner v. Biden, No. 8:22cv1582, ECF 29-1:18 (M.D.

Fla. 2022); Nuziard v. Minority Bus. Dev. Agency, No. 4:23cv278, ECF 20:29 (N.D.

Tex. 2023). In other words, the problem Defendants hope to remedy—statistical racial

and gender disparities among highway construction companies—persists even after

decades of discriminatory preferences and set-asides. Defendants’ DBE program has

utterly failed to bring people in and, ironically, has only succeeded in keeping many

people out.

      3.      Yet, apparently undeterred by this abject record of failure, Defendants

still run the DBE program. The DBE program was most recently reauthorized in

November 2021 when President Biden signed the Infrastructure Investment and Jobs

Act, P.L. 117-58 (the “Infrastructure Act”). As part of this legislation, Congress

mandated that 10% of all new surface transportation funding—over $37 billion—

“shall be expended through small business concerns owned and controlled by socially

and economically disadvantaged individuals.” PL 117-58, Sec. 11101(e), 135 Stat. 429

(Nov. 15, 2021). The word “disadvantaged” is simply code for women and certain

minorities. See id.

      4.      Upon close and exacting scrutiny, neither the DBE program’s race nor

gender preferences can survive. Although Defendants will claim the program is

necessary to remedy past discrimination, they cannot precisely show, with concrete

evidence, that the program (1) “target[s] a specific episode” of (2) “intentional



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discrimination in the past” (3) that the Defendants “had a hand in.” Vitolo v. Guzman,

999 F.3d 353 (6th Cir. 2021) (emphasis in original). In other words, Defendants may

only resort to racial preferences if they can point to “identified instances of past

discrimination that violated the Constitution or a statute.” SFFA, 600 U.S. at 207.

      5.     Moreover, even if they could meet this high bar, Defendants cannot

prove that the DBE program is narrowly tailored because, among other deficiencies,

the program relies on racial categories that are “overbroad,” “underinclusive,”

“imprecise,” “arbitrary,” and “undefined,” just like the racial categories recently

criticized by the Supreme Court. See SFFA, 600 U.S. at 216–18. As just one example,

Defendants will give a racial preference to a small business owner from Peshawar,

Pakistan, but not to a small business owner who grew up 80 miles away in Jalalabad,

Afghanistan. Defendants have never even attempted to justify these outrageous

racial categories.

      6.     If all this was not enough, the DBE program harms Plaintiffs because

Defendants use race as a “negative” and a “stereotype”—two more constitutionally

forbidden features. SFFA, 600 U.S. at 218. Defendants automatically designate black

Americans and certain other races as “disadvantaged.” As a result, other, non-

designated racial groups, such as white Americans or those from the Middle East, are

excluded and therefore disfavored—apparently having been deemed “advantaged”

without any accounting for personal circumstances whatsoever beyond skin color.

Thus, these disfavored racial groups must compete with the preferred racial groups

on an unequal footing.



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      7.      Moreover, upon examination of the gender preferences (the DBE

program also favors women-owned businesses), this Court will likewise find that

Defendants cannot point to an “exceedingly persuasive” justification or prove that the

“the discriminatory means employed are substantially related to the achievement of

those objectives.” United States v. Virginia, 518 U.S. 515, 572 (1996).

      8.     Plaintiffs have a long history of participating in federally financed road-

construction projects and a long history of being discriminated against by the DBE

program. Month after month and year after year, new federal highway contracts are

let, and Plaintiffs remain at a disadvantage because of their race and gender. Despite

being the lowest bidder on several federally funded projects, Plaintiffs have lost out

(and, absent a remedy from this Court, will continue to lose out) to DBE firms based

on race and gender.

      9.     The DBE program must end. As the Court recently said, the “time for

making distinctions based on race [has] passed.” SFFA, 600 U.S. at 204. The

Constitution contains a “pledge of racial equality” that demands “equality of

treatment before the law for all persons without regard to race.” Id. In fact, the “core

purpose” of the equal protection doctrine is this: “doing away with all governmentally

imposed discrimination based on race.” Id. at 206. And there is no fundamentally

different reason why the gender preference should not also fall.

      10.    Plaintiffs therefore seek a preliminary and permanent injunction, along

with a declaratory judgment, ending the DBE program once and for all.




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                                   THE PARTIES

      11.    Plaintiff Mid-America Milling Company, LLC (“MAMCO”) is a milling

company. Milling is the process of removing and recycling the surface of a paved road

to prepare for repaving. MAMCO bids for milling contracts and completes milling

projects in both Kentucky and Indiana, including federally funded surface

transportation projects in this District. MAMCO is qualified, willing, and able to bid

on construction contracts impacted by the federal DBE program. MAMCO is an

Indiana limited liability company with its headquarters in Jeffersonville, Indiana.

      12.    Plaintiff Bagshaw Trucking Inc. is a hauling company, boasting one of

the largest truck fleets in northern Kentucky and southern Indiana. Bagshaw

routinely bids for hauling contracts and restoration projects in both Kentucky and

Indiana, including federally funded surface transportation projects in this District.

Bagshaw is qualified, willing, and able to compete for contracts impacted by the

federal DBE program. Bagshaw is an Indiana corporation with its headquarters in

Memphis, Indiana.

      13.    Defendant United States Department of Transportation (USDOT)

maintains offices at its Kentucky Division Office, Federal Highway Administration,

John C. Watts Federal Building, 330 West Broadway, Frankfort, Kentucky 40601.

USDOT is responsible for implementing the DBE program in Kentucky, Indiana, and

elsewhere, which is the subject of this lawsuit.

      14.    Defendant Peter P. Buttigieg is the Secretary of Transportation and

oversees the United States Department of Transportation. Under the Infrastructure



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Act and other laws, Defendant Buttigieg is required to administer portions of the

law’s appropriations, including the reauthorization of the DBE program in Section

11101(e)(3). He is sued in his official capacity.

      15.    Defendant Shailen Bhatt is the Administrator of the Federal Highway

Administration, United States Department of Transportation. He is responsible for

overseeing federally funded highway transportation projects, including those funded

through the DBE program. The Federal Highway Administration is an operating

administration involved in the DBE program. He is sued in his official capacity.

      16.    Defendant Todd Jeter is the Division Administer of the Kentucky

Division of the Federal Highway Administration. Upon information and belief, he

resides in Franklin County, Kentucky, and performs his official duties in Franklin

County, Kentucky. He is responsible for the administration of requirements

governing federally funded highway projects in Kentucky, include those projects

containing racial preferences. He is sued in his official capacity.

                           JURISDICTION AND VENUE

      17.    This Court has jurisdiction over this complaint under 28 U.S.C.

§§ 1331 and 2201, and 5 U.S.C. §§ 702 and 704, because this case presents a

substantial question of federal law—specifically, whether the DBE program violates

the guarantees of equal protection under the United States Constitution and 5 U.S.C.

§ 706. This Court has authority to issue a declaratory judgment and to order

injunctive relief and other relief that is necessary and proper pursuant to 28 U.S.C.

§§ 2201, 2202, and 2412, and 5 U.S.C. §§ 702, 705, and 706.



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      18.    Venue is appropriate in this district under 28 U.S.C. § 1391(e)(1).

Defendant USDOT maintains an office at 330 West Broadway, Frankfort, Kentucky

40601, and upon information and belief, Defendant Jeter resides in Franklin County,

see 28 U.S.C. § 1391(e)(1)(A), and performs his official duties in Franklin County, see

LCivR 3.2(e). Finally, a substantial part of the events giving rise to this claim

occurred in this District and Franklin County, because Plaintiffs are impacted by

Defendants’ implementation of the DBE program in this District, which includes

contracts offered and projects to be completed within this District and specifically

Franklin County. See 28 U.S.C. § 1391(e)(1)(B); LCivR 3.2(d).

                            FACTUAL BACKGROUND

      19.    The DBE program has been in place since 1980, when the

“minority/women’s business enterprise program” was established by regulation under

Title VI of the Civil Rights Act of 1964. See 64 Fed. Reg. 5096, 5096 (Feb. 2, 1999).

      20.    In 1983, Congress enacted, and President Reagan signed, the first

statutory DBE program. See Pub. L. No. 97-424, § 105(f) (1983). Since then, Congress

has reauthorized the DBE program for highway and transit projects in surface

transportation bills. See Pub. L. No. 100-17, § 106(c) (1987); Pub. L. No. 102-240, §

1003(b)(1) (1991); Pub. L. No. 105-178, § 1101(b)(1) (1998); Pub. L. No. 109-59,

§1101(b)(2) (2005); Pub. L. No. 112-141, § 1101(b)(3) (2012); Pub. L. No. 114-94, §

1101(b)(3) (2015).

      21.    The DBE program has not materially changed in scope or definition for

decades.



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       22.    On November 15, 2021, President Biden signed into law the

Infrastructure Act. In Section 11101(e)(3), the Infrastructure Act reauthorizes the

DBE program, providing that “not less than 10 percent of the amounts made available

for any program under this division (other than section 14004), division C, and section

403 of title 23, United States Code, shall be expended through small business

concerns owned and controlled by socially and economically disadvantaged

individuals.” This language translates to “more than $37 billion.” See White House,

Fact Sheet: The Bipartisan Infrastructure Law, Nov. 23, 2021.1 Moreover, according

to the White House, the Infrastructure Act appropriates $50 billion to the DBE

program. See President Joe Biden and Senior Advisor Mitch Landrieu, Building a

Better America, pg. 51 (May 2022).2

       23.    Under Section 11101(e)(2), the Infrastructure Act explicitly adopts

definitions from the Small Business Act, including the definitions of “small business

concern” (15 U.S.C. § 632; see 13 C.F.R. pt. 121), “socially disadvantaged” (15 U.S.C.

§ 637(d); see 13 C.F.R. § 124.103), and “economically disadvantaged” (15 U.S.C. §

637(d); see 13 C.F.R. § 124.104).

       24.    “Socially disadvantaged individuals are those who have been subjected

to racial or ethnic prejudice or cultural bias within American society because of their




1Link available here: https://www.whitehouse.gov/briefing-room/statements-

releases/2021/11/23/fact-sheet-the-bipartisan-infrastructure-law-will-revitalize-main-
street/.

2 Link available here: https://www.whitehouse.gov/wp-content/uploads/2022/05/BUILDING-

A-BETTER-AMERICA-V2.pdf.
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identities as members of groups and without regard to their individual qualities.” 13

C.F.R. § 124.103(a).

      25.    Federal regulations contain a presumption that the following racial or

ethnic groups are automatically “socially disadvantaged”: “Black Americans;

Hispanic Americans; Native Americans (Alaska Natives, Native Hawaiians, or

enrolled members of a Federally or State recognized Indian Tribe); Asian Pacific

Americans (persons with origins from Burma, Thailand, Malaysia, Indonesia,

Singapore, Brunei, Japan, China (including Hong Kong), Taiwan, Laos, Cambodia

(Kampuchea), Vietnam, Korea, The Philippines, U.S. Trust Territory of the Pacific

Islands (Republic of Palau), Republic of the Marshall Islands, Federated States of

Micronesia, the Commonwealth of the Northern Mariana Islands, Guam, Samoa,

Macao, Fiji, Tonga, Kiribati, Tuvalu, or Nauru); Subcontinent Asian Americans

(persons with origins from India, Pakistan, Bangladesh, Sri Lanka, Bhutan, the

Maldives Islands or Nepal).” 13 C.F.R. § 124.103(b)(1).

      26.    Individuals who are members of other racial and ethnic groups—such

as white Americans, along with those individuals from the Middle East and north

and west Asia—are presumed not to be “socially disadvantaged.”

      27.    “Economically disadvantaged individuals are socially disadvantaged

individuals whose ability to compete in the free enterprise system has been impaired

due to diminished capital and credit opportunities as compared to others in the same

or similar line of business who are not socially disadvantaged.” 13 C.F.R. § 124.104.




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Notably, a person cannot be “economically disadvantaged” unless they are first

“socially disadvantaged.”

      28.      Under the Infrastructure Act and the relevant DBE program

regulations,    women   are   deemed   automatically    “socially   and   economically

disadvantaged individuals.” See Section 11101(e)(2)(B).

      29.      While the Infrastructure Act’s reauthorization of the DBE program

explicitly incorporates the Small Business Act and its definitions as explained supra,

Defendants have chosen to implement the DBE program through regulations at 49

C.F.R. pt. 26, which USDOT itself has described as a “patchwork quilt of a

regulation.” 64 Fed. Reg. 5096, 5096 (Feb. 2, 1999). At times in their history, these

regulations have “created confusion and inconsistency in program administration.”

See id. Despite this inconsistency between the explicit language of the Infrastructure

Act (adopting the Small Business Act definitions) and Defendants’ definitions in 49

C.F.R. pt. 26, the racial and gender preferences are functionally similar.

      30.      In practice under either the SBA or USDOT legal frameworks, a DBE

must be “at least 51 percent owned [and controlled] by one or more individuals who

are both socially and economically disadvantaged.” 49 C.F.R. § 26.5. See also 15

U.S.C. § 637(d) and 13 C.F.R. § 124.101 (defining small business concern owned and

controlled by socially and economically disadvantaged individuals). And both

frameworks contain a rebuttable presumption that women and certain minorities are

“socially and economically disadvantaged.” Compare 49 C.F.R. § 26.5 (definition of




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“socially and economically disadvantaged”) with 13 C.F.R. §§ 124.103–.104 (sections

entitled “who is socially disadvantaged?” and “who is economically disadvantaged?”).

         31.   In the Infrastructure Act, Congress attempted to justify these race-and-

gender classifications through findings of “race and gender discrimination,” but none

of these findings establish that Congress is attempting to remedy a specific and recent

episode of intentional race discrimination that the federal government has had a

hand in. Nor do these findings establish that the gender-based classification serves

important governmental objectives in which the means employed are substantially

related to the achievement of those objectives.

         32.   The Infrastructure Act and its implementing regulations do not afford

Plaintiffs either a race or gender preference. As a result, the federal DBE program

has negatively impacted Plaintiffs and is currently in effect, discriminating against

Plaintiffs on the basis of race and gender. Because of this program, Plaintiffs have

not been on equal footing, and going forward, will not be on equal footing, with DBE

firms.

         33.   Consistent with the longstanding statutory “10 percent” requirement,

most recently reauthorized under Section 11101(e)(3) of the Infrastructure Act,

federal regulations require recipients of federal highway funding, such as state

transportation agencies, to set DBE goals. See, e.g., 49 C.F.R. § 26.45 (“How do

recipients set overall goals?”). According to Defendants, state transportation agencies




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“must either meet or show that they used good faith” to meet these goals.3 State

transportation agencies “must award the contract only to a bidder/offeror who makes

good faith efforts to meet [a DBE goal].” 49 C.F.R. § 26.53.

       34.    Kentucky and Indiana both construct highways with federal aid.

       35.    Kentucky and Indiana have established DBE goals according to the

federal regulations. Every month, both states advertise contracts open for bid. Most

contracts contain a “DBE participation goal,” meaning that the states are

implementing their federally mandated DBE goal, and DBE businesses will have an

advantage when bidding for contracts or subcontracts.

       36.    Moreover, both Kentucky and Indiana have implemented federal

requirements for DBE goals through race-conscious means.

       37.    Plaintiffs regularly bid on and compete for federally funded highway

contracts that contain Kentucky’s and Indiana’s DBE participation goals as required

by the federal DBE program.

       38.    In the past, Plaintiffs have competed for and lost out on federally funded

contracts to DBE firms. In some cases, Plaintiffs had lower bids on the same projects,

yet the DBE firms prevailed.

       39.    Moreover, presently, and in the future, DBE-owned firms will have an

advantage over Plaintiffs.




3 USDOT, Federal Highway Admin., Disadvantaged Business Enterprise Program,

available at: https://www.fhwa.dot.gov/civilrights/programs/dbe/.


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       40.     Plaintiffs are qualified, willing, and able to bid on these contracts or

subcontracts, yet have not been, and will not be, on an equal footing with DBE

contractors.

       41.     While Defendants’ DBE program impacts contracts and subcontracts

offered by non-parties (such as Kentucky, Indiana, prime contractors, or

subcontractors), Plaintiffs seek relief against Defendants alone, because it is

Defendants’ DBE program and regulations that are causing harm to Plaintiffs.

Defendants’ DBE program and regulations deny Plaintiffs the constitutional

guarantee of equal protection.

       42.     Plaintiffs desire the opportunity to be considered on equal footing

without regard to race and seek redress for the race and gender discrimination and

harms to dignity caused by Defendants, not by those state, local, or private entities

or actors that merely operate under the rules of Defendants’ discriminatory program.

                                 COUNT 1
                       EQUAL PROTECTION VIOLATIONS

       43.     Plaintiffs reallege and incorporate by reference the allegations set forth

above as if fully set forth herein.

       44.     The Constitution forbids “discrimination by the general government . . .

against any citizen because of his race.” Gibson v. Mississippi, 162 U.S. 565, 591

(1896).

       45.     Gender discrimination is also unconstitutional. Courts “carefully

inspect[ ] official action that closes a door or denies opportunity to women (or to men).”

Virginia, 518 U.S. at 532.

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       46.    “The liberty protected by the Fifth Amendment’s Due Process Clause

contains within it the prohibition against denying to any person the equal protection

of the laws.” United States v. Windsor, 570 U.S. 744, 774 (2013).

       47.    “[A]ll racial classifications imposed by the government must be analyzed

by a reviewing court under strict scrutiny.” Johnson v. California, 543 U.S. 499, 505

(2005) (citation omitted). “Under strict scrutiny, the government has the burden of

proving that racial classifications are narrowly tailored measures that further

compelling governmental interests.” Id. (citation omitted).

       48.    Likewise, as the court held in Virginia, when gender discrimination is

employed, the burden “rests entirely” on the government to offer an “exceedingly

persuasive” justification for the classification, proving that the “classification serves

important governmental objectives and that the discriminatory means employed are

substantially related to the achievement of those objectives.” 518 U.S. at 533

(citations and internal quotation marks omitted).

       49.    The federal DBE program, and specifically Sections 11101(e)(2)–(3) of

the Infrastructure Act, impose racial and gender classifications and grant benefits

(namely, preferences, presumptions, or priorities) based on those racial and gender

classifications.

       50.    Defendants are responsible for interpreting and implementing the

federal DBE program and Sections 11101(e)(2)–(3) of the Infrastructure Act,

including the race and gender presumptions.




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       51.    Plaintiffs are qualified, willing, and able to apply for federal highway

and surface transportation contracts, but because the federal DBE program treats

individuals differently based on race and gender, Plaintiffs cannot compete for

contracts on an equal footing.

       52.    The racial classifications in the federal DBE program, including those

specifically mentioned in Sections 11101(e)(2) and (3) of the Infrastructure Act and

in corresponding regulations, are unconstitutional because they violate the equal

protection guarantee in the United States Constitution. These racial classifications

in the Infrastructure Act are not narrowly tailored to serve a compelling government

interest.

       53.    The gender-based classification in the federal DBE program, including

those specifically mentioned in Sections 11101(e)(2) and (3) of the Infrastructure Act

and in corresponding regulations, are unconstitutional because they violate the equal

protection guarantee in the United States Constitution. This gender-based

classification is not supported by an exceedingly persuasive objective, and the

discriminatory means employed are not substantially related to the achievement of

that objective.

                              COUNT 2
              ADMINISTRATIVE PROCEDURE ACT VIOLATION

       54.    Plaintiffs reallege and incorporate the allegations set forth above as if

fully set forth herein.




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      55.    Under the Administrative Procedure Act (APA), courts shall “hold

unlawful and set aside agency action, findings, and conclusions found to be—contrary

to [a] constitutional right.” 5 U.S.C. § 706(2)(B).

      56.    The federal DBE program is controlled by regulations that impose

unconstitutional race and gender classifications—those found at 49 C.F.R. pt. 26 and

13 C.F.R. pt. 124, including 49 C.F.R. § 26.5 (definition of “socially and economically

disadvantaged”) and 13 C.F.R. §§ 124.103–.104 (“who is socially disadvantaged?” and

“who is economically disadvantaged?”).

      57.    Defendants are responsible for implementing these regulatory race and

gender presumptions in violation of equal protection guaranteed under the Fifth

Amendment’s Due Process Clause.

      58.    Therefore,    the   Court   should       set   aside   these   regulations   as

unconstitutional.

                                 RELIEF REQUESTED

      Plaintiffs respectfully request that this Court:

      A.     Enter a preliminary injunction enjoining Defendants from applying all

unconstitutional and illegal race and gender-based classifications in the federal DBE

program, including those set out in Sections 11101(e)(2)–(3) of the Infrastructure Act,

the Small Business Act, 49 C.F.R. pt. 26, and 13 C.F.R. pt. 124.

      B.      Enter a declaratory judgment that the race and gender-based

classifications in the federal DBE program, including those set out in Sections




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11101(e)(2)–(3) of the Infrastructure Act, the Small Business Act, 49 C.F.R. pt. 26,

and 13 C.F.R. pt. 124, are unconstitutional and otherwise violate the APA.

      C.     Enter an order permanently enjoining Defendants from applying race

and gender-based classifications in the federal DBE program.

      D.     Set aside the race and gender classifications in 49 C.F.R. pt. 26 and 13

C.F.R. pt. 124.

      E.     Award Plaintiffs their attorney fees under 28 U.S.C. § 2412 or other

relevant laws.

      F.     Grant Plaintiffs such other and further relief as the court deems

appropriate.




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Dated: October 26, 2023

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